       Case 3:20-cv-07358-MMC Document 55 Filed 06/17/21 Page 1 of 2



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 6
     Attorneys for Plaintiff Brenda Barros
 7

 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                          )    CASE NO. 3:20-cv-07358-MMC
11                                                        )
     BRENDA BARROS,                                       )
12                                                        )
     Plaintiff,                                           )    [PROPOSED] ORDER GRANTING
13                                                        )    MOTION BY PLAINTIFF BARROS TO
                                                          )    FILE A NOTICE OF VOLUNTARY
14                                                        )    DISMISSAL
                                                          )
15   vs.                                                  )
                                                          )
16                                                        )
     CITY AND COUNTY OF SAN                               )
17   FRANCISCO,                                           )
                                                          )
18                                                        )    Judge: The Honorable Maxine M. Chesney
                                                          )    Dept: Courtroom 7 - 9th Floor
19           Defendants.                                  )    Date: June 18, 2021
                                                          )    Time: 9:00 a.m.
20                                                        )    ____________________________
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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Order on Motion for Leave to File Voluntary Dismissal -
       Case 3:20-cv-07358-MMC Document 55 Filed 06/17/21 Page 2 of 2



 1        The motion by Plaintiff Brenda Barros for leave to file a Notice of Dismissal
           before the Court for determination.1
 2   came on for hearing as scheduled. Upon review of the moving, opposing and

 3   reply papers and following oral argument, the Court makes the following order:

 4           [ ] The motion by Plaintiff Brenda Barros for leave to file a Notice of Dismissal

 5           is granted.

 6           [ X } The present action is hereby order dismissed without prejudice.

 7                                                      IT IS SO ORDERED

 8   Date: June 17, 2021

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                                                        The H
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                                                            Honorable
                                                              onorable Maxine M. Chesney
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11                                                      United
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                                                          ited
                                                          ite States District Court Judge gee

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        1 In
          Having   read
             light of    and considered
                      President          the parties'
                                Biden's having, withinrespective  written
                                                        the past hour,    submissions,
                                                                        signed           and
                                                                               a bill declaring
15
     reviewed the
     Juneteenth      record in
                  National        the case, and,
                               Independence     Dayin light of President
                                                      a public            Biden's
                                                                holiday, the      having,
                                                                             Federal        within
                                                                                       Building  willthe
16   past
     be    hour, on
         closed  signed
                    Junea18,  bill2021,
                                   designating Juneteenth
                                        the date               National Independence
                                                  on which Plaintiff's                    Day afor
                                                                         motion was noticed      public
     holiday and
     hearing.      the attendant
                Under                closure ofthe
                        the circumstances,       theCourt,
                                                      Federal   Building
                                                              having readon  June
                                                                           and    18, 2021,the
                                                                               considered      the date
17
     on which
     parties'   Plaintiff's written
              respective    motionsubmissions
                                      was noticed as for well
                                                         hearing,  the Court
                                                              as having       deems
                                                                         reviewed  theit entire
                                                                                         appropriate
                                                                                                recordto
18   resolve
     in       the matter
        the case,  deemswithout       oral argument.
                             it appropriate  to resolve the matter without oral argument.

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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Order on Motion for Leave to File Voluntary Dismissal -                                               -2-
